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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA

SAMANTHA WILLIAMS,                                    CIVIL ACTION: 20-cv-1501
DAKOTA FISHER, individually
And on behalf of those similarly                      HON. DAVID C. JOSEPH
Situated, and WES PIGOTT,                             MAG. JOSEPH H.L. PEREZ-MONTES

VERSUS
                                                      JURY TRIAL DEMANDED
D’ARGENT FRANCHISING, LLC,
D’ARGENT CONSTRUCTION, LLC,                           Putative Collective Action
THOMAS GIALLONARDO, III,                              Pursuant to 29 U.S.C. § 216(b)
JUSTIN GIALLONARDO, and
XYZ INSURANCE CO.


                        EX PARTE MOTION FOR LEAVE TO REPLY


       Plaintiffs respectfully request leave of this Court to file the attached Reply Memorandumin

response to Defendants’ opposition to Plaintiffs’ Motion for certification and tolling. (Rec. Doc. 27).

The attached memorandum addresses legal and factual concessions, omissions, and misstatements in

Defendants’ Opposition to class certification and/or tolling.

       On May 12, 2021, at the last hearing of this matter, counsel and the Court’s staff addressed

the issue of Plaintiffs filing a Reply and noted there was no current briefing schedule for a reply. It

was agreed Plaintiffs could submit a reply, if desired, within a reasonable time.

       WHEREFORE, Plaintiff prays that this Court enter an Order granting leave to file Plaintiffs’

Reply, a copy of which is attached hereto.




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                                         Respectfully Submitted,

                                         /s/Kenneth C. Bordes____________
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